                      Case 1:24-cr-00407-ACR                 Document 1          Filed 11/01/23         Page 1 of 1
  AO 91 (Rev. 11/11) Criminal Complaint



                                          UNITED STATES DISTRICT COURT
                                                                    for the
                                                             District of &ROXPELD

                    United States of America                          )
                               v.                                     )
Aron Joel Sanchez,                                                    )       Case No.
Sergio Herrera Jaramillo,                                             )
Sebastian Reveles,                                                    )
                                                                      )
                                                                      )
                            Defendant(s)


                                                   CRIMINAL COMPLAINT
            I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
   On or about the date(s) of                    January 6, 2021              in the county of                             in the
                            LQ WKH 'LVWULFW RI      &ROXPELD       , the defendant(s) violated:

              Code Section                                                      Offense Description

              18 U.S.C. § 1752(a)(1)- Entering and Remaining in a Restricted Building or Grounds;
              18 U.S.C. § 1752(a)(2)- Disorderly and Disruptive Conduct in a Restricted Building or Grounds;
              40 U.S.C. § 5104(e)(2)(D)- Disorderly Conduct in a Capitol Building;
              40 U.S.C. § 5104(e)(2)(G)- Parading, Demonstrating, or Picketing in a Capitol Building.


           This criminal complaint is based on these facts:
     6HH DWWDFKHG VWDWHPHQW RI IDFWV




           9
           u Continued on the attached sheet.




  $WWHVWHG WR E\ WKH DSSOLFDQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI )HG 5 &ULP 3 
  E\ WHOHSKRQH
                                                                                                              Zia M. Faruqui
  Date:             11/01/2023
                                                                                                    Judge’s signature

  City and state:                         :DVKLQJWRQ '&                           Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                  Printed name and title
